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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISON

 Wendy Iacobucci,                                  )           2:18-CV-00152-DCN-BM
                                                   )
                      Plaintiff,                   )
                                                   )      PLAINTIFF’S MEMORANDUM
                vs.                                )       IN SUPPORT OF MOTION TO
                                                   )     COMPEL AND SET REASONABLE
 Town of Bonneau, Bonneau Police                   )        FEE FOR DEPOSITION OF
 Department, Franco Fuda                           )     DEFENDANTS’ EXPERT WITNESS
                                                   )
                                                   )
                      Defendants.                  )

       The Plaintiff, Wendy Iacobucci, submits the following Memorandum in Support of her

Motion to Compel and Set a Reasonable Fee for the Deposition of Defendants’ Expert Witness,

Major Brian Batterton. Plaintiff respectfully requests that the Court issue an Order requiring Maj.

Batterton to proceed with his deposition as scheduled without insisting on prepayment of a

$2,500.00 flat fee; requiring Maj. Batterton to submit an invoice to Plaintiff’s counsel following

the conclusion of his deposition based upon the amount of time actually spent being deposed at a

reasonable rate of $250.00 per hour; and allowing the Plaintiff to proceed with depositions and

discovery in this case without regard to the status of the pending Motion to Amend the Complaint.

       I.      Background

       The parties agreed to schedule the deposition of Defendants’ expert witness, Major Brian

Batterton, for September 13, 2018. The Plaintiff issued a notice of deposition and subpoena for

Maj. Batterton on August 20, 2018. (Attached hereto as Exhibit 1). Counsel for Defendant Fuda

informed Plaintiff’s counsel that Maj. Batterton requires prepayment of a flat fee of $2,500 to

appear at depositions. Counsel for the Plaintiff requested that Maj. Batterton allow Plaintiff to

proceed with his deposition without prepayment of this flat fee and that he then bill Plaintiff a



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reasonable hourly rate at the conclusion of the deposition, based upon the time actually spent being

deposed. In a further attempt to resolve the issue, Plaintiff’s counsel then offered to prepay

$750.00 to Maj. Batterton based upon an expected deposition length of 3 hours and a $250 hourly

fee, as set forth in Maj. Batterton’s CV (Attached hereto as Exhibit 2). Counsel for Defendant

Fuda stated that Maj. Batterton would not agree to proceed under these parameters and was

insisting on prepayment of the $2,500 flat fee. Additionally, counsel for Defendant Fuda stated

that it would not be appropriate for the Plaintiff to proceed with this deposition until the Court has

ruled on our Motion to Amend the Complaint (See ECF No. 38).

       II.     Prepayment of Deposition Fee

       Counsel for Defendant Fuda has informed Plaintiff’s counsel that Maj. Batterton requires

prepayment of a flat fee of $2,500 to appear at depositions. Plaintiff’s counsel is unaware of any

requirement in the Federal Rules of Civil Procedure or the Local Civil Rules for the United States

District Court District of South Carolina that a party must prepay an opposing party’s expert

witness. To the contrary, it appears that the great weight of the authority that exists on this issue

holds that no such prepayment is required when deposing an opposing party’s expert witness.

       “Under Federal Rule of Civil Procedure 26(b)(4)(E), the party seeking discovery must,

unless manifest injustice would result, pay the expert a reasonable fee for time spent in responding

to discovery under Rule 26(b)(4)(A) or (D). The rule does not require the party seeking discovery

to prepay the expert's fees.” Great Lakes Anesthesia, PLLC v. State Farm Mut. Auto. Ins. Co.,

No. 11-10658, 2011 U.S. Dist. LEXIS 110584, at *2 (E.D. Mich. Sep. 28, 2011). As such, the

court held that the expert witness was entitled only to a reasonable fee for the time actually spent

in the deposition and ordered the expert to appear for his deposition as currently scheduled without

prepayment.



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       The position that an expert witness may not require prepayment of a flat fee prior to sitting

for a properly noticed deposition finds support from courts across the country. See, e.g., McGowan

v. Samoraj, 2010 Fla. Cir. LEXIS 2286 (compelling an expert witness to appear for deposition

pursuant to subpoena without preconditioning his appearance on the prepayment of any expert

witness fee); Spencer-Martin v. Exxon Mobil Corp., No. 16-789-SDD-RLB, 2017 U.S. Dist.

LEXIS 150057, at *4-5 (M.D. La. Sep. 15, 2017) (a party’s “obligations to pay a reasonable

amount for time spent in responding to discovery only becomes due after [the expert witness]

prepares for and attends his deposition.”); Krantz v. State Farm Fire and Cas. Co., No. 16-mc-

7248, ECF No. 7 (E.D. La. June 8, 2016). (expert fees are only paid for time spent in responding

to discovery and requiring up-front payments without reference to time actually spent in

responding to discovery is contrary to the law.); Kramer v. Hartford Ins. Co., No. 812-1824, 2013

U.S. Dist. LEXIS 199245, 2013 WL 12155927, at *1 (M.D. Fla. Apr. 30, 2013). (“prepayment of

expert witness fees . . . is inappropriate under the Federal Rules of Civil Procedure”); Conte v.

Newsday, Inc., No. CV 06-4859 (JFB) (ETB), 2011 U.S. Dist. LEXIS 88546, 2011 WL 3511071,

at *2 (E.D.N.Y. Aug. 10, 2011) (finding that a motion seeking prepayment for an expert's

deposition was premature because the Rule "clearly contemplates that a court order will be issued

subsequent to the deposition"); Parkland Venture, LLC v. City of Muskego, No. 09-C-0972, 2010

U.S. Dist. LEXIS 127230, 2010 WL 4723411, at *2 (E.D. Wis. Nov. 15, 2010) (denying the

motion requiring defendants to pay expert fees in advance); Harris v. Costco Wholesale Corp., 226

F.R.D. 675, 676 (S.D. Cal. Mar. 15, 2005) (stating that the Rule does not require the expert fees

be paid prior to the deposition unlike ordinary witness fees); Ratliff v. Baan Co., N.V., No. 1:99-

CV-2455-WBH, 2003 U.S. Dist. LEXIS 27797, 2003 WL 25774909, at *1 (N.D. Ga. Nov. 5,

2003) (concluding that after the expert's deposition, the expert can submit a bill to be paid for the



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deposition); Woodyard v. Provident Life & Accident Ins. Co., No. Civ. A. 97-2062, 1998 U.S.

Dist. LEXIS 4129, 1998 WL 158744, at *3 (E.D. La. Mar. 30, 1998) (denying the motion to set

an expert's fee because the motion requests a flat fee to be paid in advance of the deposition without

reference to "time spent" as enunciated in the Rule).

       In light of the forgoing, the Plaintiff respectfully requests that the Court require Maj. Brian

Batterton to attend his deposition without insisting on the prepayment of a $2,500.00 flat fee.

       III.    Reasonableness of Deposition Fee

       Plaintiff’s counsel is also challenging the reasonableness of the $2,500.00 flat fee required

by Maj. Batterton. A flat fee in this amount is arbitrary and bears no reasonable relationship to the

amount of time actually spent being deposed. It is anticipated that the deposition of Maj. Batterton

will take approximately two to three hours, absent any unforeseen issues. Maj. Batterton has set

forth his hourly rate in his CV as $250.00 per hour. Plaintiff’s counsel is willing to pay $250.00

per hour for Maj. Batterton’s deposition testimony, which is a reasonable fee that bears a

relationship to the amount of time spent responding to discovery pursuant to the Federal Rules of

Civil Procedure.

       "The court has discretion to set reasonable expert fees under Rule 26." Fiber Optic Designs.

Inc. v. New England Pottery, LLC, 2009 LEXIS 119669, *9 (Dec. 4, 2009). "Ultimately, the

burden of proving the reasonableness of an expert's fees lies with the party seeking

reimbursement." Id. at *10. "[T]he mandate of Rule 26(b)(4)(C) is not that an adverse expert will

be paid his heart's desire, but that he will be paid a 'reasonable fee."' Anthony v. Abbot Labs., 106

F.R.D. 461,465 (D.R.I. 1985). "Ideally, Rule 26 seeks to calibrate the fees so that plaintiffs will

not be hampered in efforts to hire quality experts, while defendants will not be burdened by

unfairly high fees preventing feasible discovery and resulting in windfalls to the expert." Hurst v.



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United States, 123 F.R.D. 319, 320 (D.S.D. 1988); see also 11-1 Bender's Forms of Discovery

Treatise§ 1.54 (2009); Mathis v. NYNEX, 165 F.R.D. 23, 24 (E.D.N.Y. 1996). Many courts that

have addressed this issue (including a North Carolina District Court) have recognized seven factors

to be considered in determining whether or not an expert fee is reasonable:

       ( 1) the witness' area of expertise; (2) the education and training that is required to provide
       the expert insight which is sought; (3) the prevailing rates of other comparably respected
       available experts; ( 4) the nature, quality, and complexity of the discovery responses
       provided; (5) the fee actually being charged to the party who retained the expert; (6) fees
       traditionally charged by the expert on related matters; and (7) any other factor likely to be
       of assistance for the court in balancing the interests implicated by Rule 26.

Massasoit v. Carter, 227 F.R.D. 264 (M.D.N.C. 2005) (quoting U.S. Energy Corp. v. Nukem, Inc.,

163 F.R.D. 344 (D. Colo. 1995); Jochims v. Isuzu Motors, Ltd., 141 F.R.D. 493 (S.D. Iowa 1992)).

       In Massasoit v. Carter, 227 F.R.D. 264 (M.D.N.C. 2005), the plaintiffs filed a motion for

the court to determine the reasonable fee for an expert deposition where the expert intended to

charge a flat rate fee of $2,000.00. The expert at issue was a nationally renowned law enforcement

expert. The plaintiffs stated they noticed the deposition to take place at the expert's office and only

requested the expert reserve two to three hours for the deposition. The North Carolina District

Court examined the above-referenced factors and held there was no reasonable basis for the

expert's $2,000.00 fee at his own office. In light of the plaintiff's statement that the deposition

would last no longer than two to three hours, the expert's flat rate fee potentially amounted to more

than $600.00 per hour. The court found this to be "exorbitant" and held $250.00 per hour to be a

reasonable amount, considering that is his general fee for consultation, investigation, and

preparation. Id. at 267. "Courts must be on guard against exorbitant expert fees, and retain the

ultimate responsibility to keep litigation costs from becoming unreasonable." Id. (citing Edin v.

Paul Revere Life Ins. Co., 188 F.R.D. 543 (D. Ariz. 1999). The Massasoit court noted that its




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holding might differ if the deponent had been "the physician who may have to block out time when

he or she could see patients,” which is obviously not an issue in the instant case. Id.

       In Goldwater v. Postmaster Gen'l of the U.S., 136 F.R.D. 337 (D.Conn. 1991), a

psychiatrist expert charged $450 per hour for deposition and trial testimony, while charging only

$150 per hour for everything else. Although the court recognized that the expert was a busy

psychiatrist and that the cost of living and practicing medicine in Hartford, Connecticut was

relatively high, it found the requested fee to be extravagant. The court thus awarded the expert

$200 per hour as "a rate consistent with the rates charged by other psychiatrists who have

performed services for parties in this court." Id. at 340.

       In Jochims v. Isuzu Motors. Ltd., 141 F.R.D. 493 (S.D. Iowa 1992), the court reduced the

expert's fee from his requested $500 per hour to $250 per hour. The expert at issue was an associate

professor of mechanical and aerospace engineering with “impressive” qualifications and

credentials. Nonetheless, the court found his fee to be “grossly excessive . . . unconscionable and

astronomical," noting that it was double the highest hourly rate he was charging the plaintiff. Id.

at 496. The court stated that the expert's requested $500 per hour fee was "an unfortunate example

of the concerns expressed by the courts and Congress regarding the escalating costs of civil

litigation in the federal courts." Id. at 497. The court thus had "no trouble" reducing the fee to $250

per hour. Id.

       In Dominquez v. Syntex Labs, Inc., 149 F.R.D. 166 (S. Ind. 1993), the court discussed

whether a neurologist's $800 to $860 per hour deposition fees were reasonable. The defendant

challenged the fee and presented evidence of seven similar experts from around the country, which

demonstrated that the maximum fee was $300 per hour. The court considered this, along with the

seven above-mentioned factors, and reduced the fee to $341.50 per hour. The court noted,



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"apparently the litigious nature of society has caused litigation participants to forget the adage 'an

honest day's work for an honest day's pay."' Id. at 170. "This court is not so naive as to overlook

the strain of esurience which sometime seems to infect certain physicians when they become

involved as experts in the litigation process." Id. at 170-71.

       In Anthony v. Abbot Labs., 106 F.R.D. 461 (D.R. 1985), the District Court of Rhode Island

took issue with a physician expert's $420 per hour deposition fee. The court reduced the fee to

$250 per hour as "the outermost periphery of the range of sustainable awards." Id. at 466. In so

doing, the court stated that the expert's requested rate "is not merely high – it is astronomical." Id.

The rate is "so out of touch with the economic realities of the world beyond high-stakes personal

injury litigation that it would be a denial of justice to permit it to stand." Id. "Such an extravagant

rate offends the conscious of this court[.]" Id. The court noted that, based on a standard 40-hour

work week. a rate of $420 hourly rate would produce an income to the expert of $840,000 annually.

Id. at 464. The physician "may well be a genius in his field, but this court cannot find that even so

important and prestigious a profession as medicine has a right to command such exorbitant

awards." Id. In comparison, if Maj. Batterton were paid $2,500 per day, worked five days and

week and worked 50 weeks a year, his annual compensation would total $625,000. His request

for a flat fee payment of $2,500 is clearly excessive.

       Additionally, Counsel for Defendant Fuda has stated that Maj. Batterton intends to charge

the Plaintiff for the time he spends preparing for his deposition. Plaintiff takes the position that

she is not responsible for paying for Maj. Batterton deposition preparation. Plaintiff is only

responsible for paying a reasonable hourly rate for the time Maj. Batterton spends actually being

deposed. In Owners Ins. Co. v. Warren Mech., LLC, 2017 U.S. Dist. LEXIS 160474, *35 (D.S.C.

Sept. 29, 2017), Judge Norton held that “it is the duty of the party retaining the expert witness to



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prepare their witness for deposition and trial.” Judge Norton further stated, “it is unreasonable” to

require the deposing party to pay for an adverse expert’s deposition preparation time. Id.

       In light of the forgoing, the Plaintiff respectfully requests that the Court require Maj.

Batterton to submit an invoice to Plaintiff’s counsel following the conclusion of his deposition

based upon the amount of time actually spent being deposed and not for time spent preparting for

the deposition at a reasonable rate of $250 per hour.

       IV.     Ability to Proceed with Depositions While Motions Pending

       Counsel for Defendant Fuda has stated that it would not be appropriate for the Plaintiff to

proceed with this deposition until the Court has ruled on Plaintiff’s Motion to Amend the

Complaint. Plaintiff’s Counsel is unaware of any requirement in the Federal Rules of Civil

Procedure or the Local Civil Rules for the United States District Court District of South Carolina

that states that an expert witness is not required to appear for a properly noticed deposition, for

which he is under subpoena, under these circumstances. Furthermore, Plaitniff’s counsel is

unaware of any prejudice that could result from proceeding with this deposition as scheduled. The

Court and counsel for all parties have been provided with the current First Amended Complaint,

as well as the Proposed Second Amended Complaint that was submitted with our Motion to Amend

the Complaint and Memorandum in Support. The Defendants are fully aware of the facts, causes

of action, injuries, and damages alleged by the Plaintiff in both pleadings. Counsel for the

Defendants are able to adequately prepare their expert for his deposition based upon the filings

without regard to whether or not the Court has granted or denied the motion.

       In light of the forgoing, the Plaintiff respectfully requests that the Court allow the Plaintiff

to proceed with depositions and discovery in this case without regard to the status of the pending

Motion to Amend the Complaint.



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       V.      Conclusion

       Plaintiff respectfully requests that the Court issue an Order requiring Maj. Batterton to

proceed with his deposition as scheduled without insisting on prepayment of a $2,500.00 flat fee;

requiring Maj. Batterton to submit an invoice to Plaintiff’s counsel following the conclusion of his

deposition based upon the amount of time actually spent being deposed at a reasonable rate of

$250.00 per hour; and allowing the Plaintiff to proceed with depositions and discovery in this case

without regard to the status of the pending Motion to Amend the Complaint.




                                  (signatures on following page)




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                                    CLAWSON FARGNOLI, LLC




                                    /s/ Samuel R. Clawson, Jr.
                                    Samuel R. Clawson, Jr. (Fed. ID No. 11850)
                                    Christy R. Fargnoli (Fed. ID No. 10364)
                                    474 King Street, Suite D
                                    Charleston, South Carolina 29403
                                    (843) 970-2700
                                    christy@clawsonfargnoli.com
                                    sam@clawsonfargnoli.com

                                    Attorneys for Plaintiff

Charleston, South Carolina
August 27, 2018

                                    WHITE, DAVIS, AND WHITE LAW FIRM



                                    /s/ Kyle J. White
                                    Kyle J. White (Fed. ID No. 11774)
                                    209. E. Calhoun St.
                                    Anderson, SC 29621
                                    (864) 231-8090
                                    kyle@wdwlawfirm.com

                                    Attorney for the Plaintiff



Anderson, SC
August 27, 2018




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